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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

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In re: : Chapter 11
TRIANGLE USA PETROLEUM : Case No. 16-11566 (MFW)
CORPORATION, et al., ;

: Jointly Administered

Debtors.! :

: Related Docket No. 944, 947

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ORDER UNDER BANKRUPTCY CODE SECTION 1121(d)
FURTHER EXTENDING EXCLUSIVE PERIODS DURING WHICH RANGER
DEBTORS MAY FILE AND SOLICIT ACCEPTANCES OF A CHAPTER 11 PLAN
Upon the motion (the “Motion”)’ of the Ranger Debtors for entry of an order
under Bankruptcy Code section 1121(d) further extending the Ranger Debtors’ exclusive periods
to file a chapter 11 plan and to solicit votes to approve a chapter 11 plan (together, the
“Exclusivity Periods”); and due and sufficient notice of the Motion having been given under the
particular circumstances; and it appearing that no other or further notice is necessary; and it
appearing that the relief requested in the Motion is in the best interests of the Ranger Debtors,
their estates, their creditors, and other parties in interest; and after due deliberation thereon; and
good and sufficient cause appearing therefor; it is hereby,

ORDERED, ADJUDGED, AND DECREED that:

1. The Motion is GRANTED as set forth herein.

 

The Debtors and the last four digits of their respective taxpayer identification numbers are: Triangle USA
Petroleum Corporation (0717); Foxtrot Resources LLC (6690); Leaf Minerals, LLC (9522); Ranger Fabrication,
LLC (6889); Ranger Fabrication Management, LLC (1015); and Ranger Fabrication Management Holdings,
LLC (0750). The address of the Debtors’ corporate headquarters is 1001 17th Street, 14th Floor, Denver,
Colorado 80202.

Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.

 
 

 

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2. Pursuant to Bankruptcy Code section 1 121(d), no party other than the Ranger
Debtors may file any chapter 11 plan from the date hereof through and including December 29,
2017.

3. Pursuant to Bankruptcy Code section 1 121(d), no party other than the Ranger
Debtors may solicit votes to accept a proposed chapter 11 plan filed with this Court during the
period from the date hereof through and including February 28, 2018.

4, The Ranger Debtors are authorized and empowered to take all actions necessary
to implement the relief granted in this Order.

5. This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.

Dated: Wilmington, Delaware

“Sade XB, 2017
Qu Brass

Honorable Mary F. Walrath
UNITED STATES BANKRUPTCY JUDGE

 
